         Case 4:00-cr-00070-BRW         Document 145        Filed 04/14/10       Page 1 of 1



                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION


UNITED STATES OF AMERICA

          vs                          4:00CR00070-03-WRW

CHARLES ANTHONY CROOK


                                 AMENDED AND SUBSTITUTED
                                JUDGMENT AND COMMITMENT

          The above entitled cause came on for a hearing on the petitions to revoke the supervised

release granted this defendant. Upon the basis of the evidence presented, the Court found that the

defendant did violate conditions of his supervised release without just cause.

          IT IS THEREFORE ORDERED AND ADJUDGED that the supervised release granted this

defendant be, and it is hereby, REVOKED.

          The defendant is sentenced to a period of 12 months at a designated Bureau of Prisons

correctional facility. The defendant is to participate in substance abuse treatment during

incarceration. No supervised release will follow incarceration.

          The defendant is remanded into the custody of the U.S. Marshal.

          IT IS SO ORDERED this 14th day of April, 2010.




                                                          /s/Wm. R. Wilson, Jr.
                                                     UNITED STATES DISTRICT JUDGE




supvrl.2.Crook.wpd
